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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
CASE NO. 1:15-CR-20572
UNITED STATES OF AMERICA
Plaintiff,
VS.
LUIS ALBERTO ALVAREZ HIDARRAGA,
13636-104
Defendant.
/

MOTION TO ORDER RELEASE OF
ILLEGALLY HELD DEFENDANT

1. On August 29, 2022, this court entered an Order reducing Defendant’s sentence to 90
months of imprisonment. Docket No. 135.
2. Mr. Hidarraga has been physically in prison for 87 months. With credit for good time

earned, he would have been entitled to a release since the entry of the initial Order on August 29,

2022.

3. Neither the U.S. Marshalls or the Bureau of Prisons have acted upon the order

reducing the sentence.

4. The undersigned has called Chambers as well as AUSA Robb Emery, both of whom

appear indifferent to whether Defendant is illegally detained and entitled to be released.

WHEREFORE, Defendant prays for the court to enforce its own ruling and ascertain that

proper steps are taken to secure Defendant’s release by communicating with the U.S. Marshalls

or the Bureau of Prisons.
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Respectfully submitted,
/s/ Joaquin Perez
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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing was filed this 25" day
of October, 2022 via CM/ECF filing system and to all parties of record via the same system.

/s/ Joaquin Perez
Joaquin Perez, Esq.

 
